           Case 2:24-cr-00570-WLH            Document 565-1 Filed 11/05/24              Page 1 of 1 Page ID
                                                      #:1715




                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                         CASE NUMBER


                                                                                   2:24-cr-00570-WLH

                                                  Plaintiff(s)
                              v.
CLAIRE PATRICIA HAVILAND, et al.,                                              ORDER ON
BRIANNE BREWER (8)                                               APPLICATION FOR WRIT OF HABEAS CORPUS

                                                                 ✔ AD PROSEQUENDUM G AD TESTIFICANDUM
                                                                 G
                                                Defendant(s).



The Court hereby ORDERS the Application for Writ of Habeas Corpus submitted herewith be GRANTED and
                              ✔Ad Prosequendum G Ad Testificandum be issued to secure the appearance of:
 that a Writ of Habeas Corpus G

Name of Detainee: BRIANNE BREWER

         Alias:


on       December 5, 2024          at 1:30 p.m. before Judge/Magistrate Judge Steve Kim, Magistrate Judge
         (Date of Appearance)         (Time)




Dated:
                                                                    U.S. District Judge/U.S. Magistrate Judge




G-09 ORDER (10/06)   ORDER ON APPLICATION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM/AD TESTIFICANDUM
